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 8                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
 9                                SAN FRANCISCO DIVISION
10   YEN HOANG, Individually and on Behalf of        Case No. _______________
                                                               3:21-cv-3930
11   All Others Similarly Situated,
                                Plaintiff,
12
                                                     CLASS ACTION COMPLAINT
            v.
13
     CONTEXTLOGIC, INC., PETER
14
     SZULCZEWSKI, RAJAT BAHRI, BRETT
15   JUST, JULIE BRADLEY, ARI EMANUEL,    JURY TRIAL DEMANDED
     JOE LONSDALE, TANZEEN SYED,
16   STEPHANIE TILENIUS, HANS TUNG,
     JACQUELINE RESES, GOLDMAN SACHS &
17   CO. LLC, J.P. MORGAN SECURITIES LLC,
     BOFA SECURITIES, INC., CITIGROUP
18
     GLOBAL MARKETS INC., DEUTSCHE
19   BANK SECURITIES INC., UBS SECURITIES
     LLC, RBC CAPITAL MARKETS, LLC,
20   CREDIT SUISSE SECURITIES (USA) LLC,
     COWEN AND COMPANY, LLC,
21   OPPENHEIMER & CO. INC., STIFEL,
22   NICOLAUS & COMPANY, L.L.C.,
     ACADEMY SECURITIES, INC., LOOP
23   CAPITAL MARKETS LLC, and R. SEELAUS
     & CO., LLC,
24                         Defendants.
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 1          Plaintiff Yen Hoang (“Plaintiff”) makes the following allegations, individually and on

 2   behalf of all other similarly situated, by and through Plaintiff’s counsel, upon information and

 3   belief, except as to those allegations concerning Plaintiff, which are alleged upon personal

 4   knowledge. Plaintiff’s information and belief are based upon, inter alia, counsel’s investigation,

 5   which included, among other things, review and analysis of: (i) regulatory filings made by

 6   ContextLogic Inc. (“ContextLogic” or the “Company”) with the SEC; (ii) press releases and media

 7   reports issued by and disseminated by the Company; and (iii) analyst reports, media reports, and

 8   other publicly disclosed reports and information about the Company. Plaintiff believes that

 9   substantial evidentiary support will exist for the allegations set forth herein after a reasonable

10   opportunity for discovery.

11                                             INTRODUCTION
12          1.       Plaintiff brings this class action for violations of the federal securities laws.
13          2.       Plaintiff brings this federal securities class action under §§10(b) and 20(a) of the
14   Securities Exchange Act of 1934 (the “Exchange Act”) and U.S. Securities and Exchange
15   Commission (“SEC”) Rule 10b-5 promulgated thereunder, 17 C.F.R. §240.10b-5, on behalf of a
16   class consisting of all persons and entities, other than Defendants and their affiliates, who
17   purchased ContextLogic Inc. (“ContextLogic” or the “Company”) securities between December
18   16, 2020 to May 12, 2021, inclusive (the “Class Period”), and who were damaged thereby (the
19   “Exchange Act Class”). The Exchange Act claims are brought against Defendants ContextLogic,
20   Peter Szulczewski (“Szulczewski”), and Rajat Bahri (“Bahri”) (collectively, “Exchange Act
21   Defendants”).
22          3.       Plaintiff also brings this federal class action under §§11, 12, and 15 of the Securities
23   Act of 1933 (“Securities Act”), and rules promulgated thereunder, on behalf of all persons or
24   entities that purchased or acquired ContextLogic common stock pursuant or traceable to the
25   Company’s Registration Statement on Form S-1, including amendments made thereto, (the
26   “Securities Act Class” and together, with the Exchange Act Class, the “Class”), which was filed
27   initially with and declared effective by the SEC on November 20 and December 15, 2020,
28   respectively (the “Registration Statement”). On December 17, 2020, the final Prospectus for the

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 1   Company’s Initial Public Offering (“IPO”), which forms part of the Registration Statement, was

 2   filed with the SEC (together, the “Offering Materials”). Plaintiff brings these Securities Act claims

 3   against Defendants ContextLogic, Szulczewski, Bahri, the Director Defendants (defined below),

 4   and the Underwriter Defendants (defined below) (collectively, “Securities Act Defendants” and

 5   together, with the Exchange Act Defendants, “Defendants”).

 6                                     SUMMARY OF THE ACTION
 7           4.      ContextLogic is a mobile ecommerce company that operates the Wish platform,
 8   which connects value-conscious customers with merchants across the globe. Since being founded
 9   in 2010, the Wish platform now connects “more than 100 million monthly active users in over 100
10   countries to over 500,000 merchants offering approximately 150 million items.”
11           5.      In the Registration Statement and Prospectus used to effectuate its IPO and
12   throughout the Class Period, Defendants made materially false and misleading statements about:
13   (1) the “differentiated user experience,” ContextLogic repeatedly credited as driving the wide-
14   adoption of the Wish platform by customers who are offered access to high-quality merchants,
15   selling affordable, high-quality products, and merchants who are offered reliable logistical
16   services; (2) the Company’s sales and marketing engine, which ContextLogic said it would
17   “continue to invest in” and that purportedly serves as a competitive advantage in attracting new
18   users and increasing user engagement on the Wish platform; and (3) the Company’s monthly active
19   user (MAU) growth, which it considered “a key indicator of user engagement and awareness of
20   [its] brand.”
21           6.      On December 16, 2020, ContextLogic completed its IPO, issuing 46 million shares
22   of common stock at $24 per share, raising more than $1.1 billion in gross proceeds. The Offering
23   Materials consistently flaunted the Company’s “policies which, in combination with [its] robust
24   user-generated content, promote higher-quality merchants and products on [its] platform.”
25   Central to ContextLogic’s “superior engagement” with users was its ability to “offer [customers]
26   a vast selection of high-quality items at competitive prices[,]” its “set of reliable cross-border
27   logistics solutions [for merchants,]” and its commitment to both “expand product selection to
28   provide more diversified products at competitive prices[,]” and “expand its logistics platform and

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 1   optimize its proprietary logistics programs . . . to become an integrated part of the cross-border

 2   logistics value chain . . . and provide faster and more reliable delivery to [the Company’s] buyers.”

 3          7.      Additionally, the Offering Materials repeatedly claimed that ContextLogic would

 4   “continue to invest in” its sales and marketing engine, considered a “core competency [ ] essential

 5   to the success of the Wish platform,” to “acquire new users and re-engage existing users” in both

 6   existing and select new markets, including in “countries in Africa, Latin America, and Eastern

 7   Europe,” which served as “key growth markets with large and growing populations as a well as a

 8   significant portion of the population with lower average household incomes.” In so doing, as

 9   suggested by the Offering Materials, the number of monthly average users of ContextLogic’s

10   platform, which had purportedly grown from 21 million in fiscal year 2015 to 108 million by the

11   end of September 2020, would continue to grow.

12          8.      Yet, when ContextLogic reported its fourth quarter and fiscal year 2020 financial

13   results for the period ended December 31, 2020 (“4Q20” and “FY20”), it was revealed that, in

14   reality, at the time of the IPO, a material number of ContextLogic customers had complained to

15   the Company about the quality of the products, protracted delivery times that, in some cases,

16   stretched out longer than two months, or orders that never were received, that “the customer

17   experience [was] so bad the [C]ompany pulled back ads in India, Brazil, the Philippines and other

18   countries[,]” and that “decreased advertising” and “shipping problems,” caused the Company’s

19   4Q20 MAU’s to decline 10% from the same period a year earlier. On this news, ContextLogic’s

20   stock declined more than 10%.

21          9.      To make matters worse, on May 12, 2021, after ContextLogic announced its 1Q21

22   financial results which revealed that its MAUs had declined another 7% to just 101 million,

23   ContextLogic’s stock cratered again, closing on May 13, 2021 at $8.11 per share, or down over

24   29%, on unusually high trading volume.

25                                     JURISDICTION AND VENUE
26          10.     The Exchange Act claims asserted herein arise under §§10(b) and 20(a) of the
27   Exchange Act, 15 U.S.C. §§78j(b) and 78t(a), and SEC Rule 10b-5 promulgated thereunder, 17
28   C.F.R. §240.10b-5.

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 1           11.     The Securities Act claims asserted herein arise under and pursuant to §§11 and 15

 2   of the Securities Act, 15 U.S.C. §§77k and 77o, and SEC rules promulgated thereunder.

 3           12.     This Court has jurisdiction over the subject matter of this action pursuant to 28

 4   U.S.C. §§1331 and 1337, §22 of the Securities Act, 15 U.S.C. §77v, and/or §27 of the Exchange

 5   Act, 15 U.S.C. §78aa.

 6           13.     Venue is proper in this District pursuant to 28 U.S.C. §1391(b)-(c), §22 of the

 7   Securities Act, 15 U.S.C. §77v, and/or §27 of the Exchange Act, 15 U.S.C. §78aa, because the acts

 8   and transactions giving rise to the violations of law complained of occurred, in part, in this District,

 9   including the dissemination of false and misleading statements into this District, certain

10   Defendants reside and/or transact business in this District, and the Company maintains its

11   corporate headquarters in this District.

12           14.     In connection with the challenged conduct, Defendants, directly or indirectly, used

13   the means and instrumentalities of interstate commerce, including, but not limited to, the United

14   States mails, interstate telephone communications, and the facilities of the national securities

15   markets.

16                                                 PARTIES
17           A.      Plaintiff
18           15.     Plaintiff, as set forth in her accompanying certification, purchased ContextLogic
19   common shares during the Class Period and was damaged as a result of the violations of the federal
20   securities law as alleged herein.
21           B.      Defendants
22                   1.      The Company
23           16.     Defendant ContextLogic is a San Francisco, California-based global ecommerce
24   provider, incorporated under the law of the state of Delaware. ContextLogic maintains its
25   headquarters at One Sansome Street, 40th Floor, San Francisco, CA 94104, and its common stock
26   is listed on the NASDAQ under the ticker symbol “WISH.”
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 1                  2.     The Individual and Director Defendants

 2          17.     Defendant Szulczewski was, throughout the Class Period and at all relevant times,

 3   Founder, CEO and Chairperson of the Board of Directors (the “Board”). Defendant Szulczewski

 4   reviewed, approved, and participated in making statements in the Registration Statement, which

 5   he signed. He also reviewed, edited, and approved the IPO’s road show PowerPoint presentation,

 6   road show talking points and script, and participated in making the materially inaccurate,

 7   misleading, and incomplete statements alleged herein as ContextLogic’s CEO.

 8          18.     Defendant Bahri was, throughout the Class Period and at all relevant times,

 9   ContextLogic’s CFO. Defendant Bahri reviewed, approved, and participated in making statements

10   in the Registration Statement, which he signed. He also reviewed, edited, and approved the IPO’s

11   road show PowerPoint presentation, road show talking points and script, and participated in

12   making the materially inaccurate, misleading, and incomplete statements alleged herein as

13   ContextLogic’s CFO.

14          19.     Defendant Brett Just (“Just”) was, throughout the Class Period and at all relevant

15   times, ContextLogic’s Chief Accounting Officer (“CAO”). Defendant Just reviewed, approved,

16   and participated in making statements in the Registration Statement, which he signed. He also

17   reviewed, edited, and approved the IPO’s road show PowerPoint presentation, road show talking

18   points and script, and participated in making the materially inaccurate, misleading, and incomplete

19   statements alleged herein as ContextLogic’s CAO.

20          20.     Defendants Szulczewski, Bahri, and Just are collectively referred to herein as the

21   “Individual Defendants.” During the Class Period, the Individual Defendants ran the Company as

22   hands-on executives and/or managers, overseeing ContextLogic’s operations, finances, and

23   business.    The Individual Defendants made the materially false and misleading statements

24   described herein and each had intimate knowledge about core aspects of ContextLogic’s financial

25   and business operations. The Individual Defendants were also intimately involved in deciding

26   which disclosures would be made by ContextLogic. Because of their positions and access to

27   material non-public information available to them during the Class Period, the Individual

28   Defendants knew that the adverse facts specified herein had not been disclose to, and were being


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 1   concealed from, the public, and that the positive representations which were being made were then

 2   materially false and/or misleading. The Individual Defendants, because of their positions at

 3   ContextLogic, possessed the power and authority to control the contents of the Company’s reports

 4   to the SEC, press releases, presentations to securities analysts, money and portfolio managers,

 5   institutional and individual investors, and industry experts and/or practitioners at conferences and

 6   other events. The Individual Defendants were provided with copies of the Company’s reports and

 7   press releases alleged herein to be misleading prior to or shortly after their issuance and had the

 8   ability and opportunity to prevent their issuance or cause them to be corrected.

 9          21.     At all relevant times, Defendant Julie Bradley (“Bradley”) served as a director on

10   the Board. Defendant Bradley participated in the preparation of and signed, or authorized the

11   signing of, the Registration Statement.

12          22.     At all relevant times, Defendant Ari Emanuel (“Emanuel”) served as a director on

13   the Board. Defendant Emanuel participated in the preparation of and signed, or authorized the

14   signing of, the Registration Statement.

15          23.     At all relevant times, Defendant Joe Lonsdale (“Lonsdale”) served as a director on

16   the Board. Defendant Lonsdale participated in the preparation of and signed, or authorized the

17   signing of, the Registration Statement.

18          24.     At all relevant times, Defendant Tanzeen Syed (“Syed”) served as a director on the

19   Board. Defendant Syed participated in the preparation of and signed, or authorized the signing of,

20   the Registration Statement.

21          25.     At all relevant times, Defendant Stephanie Tilenius (“Tilenius”) served as a director

22   on the Board. Defendant Tilenius participated in the preparation of and signed, or authorized the

23   signing of, the Registration Statement.

24          26.     At all relevant times, Defendant Hans Tung (“Tung”) served as a director on the

25   Board. Defendant Tung participated in the preparation of and signed, or authorized the signing of,

26   the Registration Statement.

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 1          27.     Defendant Jacqueline Reses (“Reses”) was identified as an incoming director in the

 2   Registration Statement and was named a member of the Board on December 18, 2020 and was

 3   made Chairperson of the Board on May 12, 2021.

 4          28.     Defendants Bradley, Emanuel, Lonsdale, Syed, Tilenius, Reses, and Tung are

 5   collectively referred to herein as the “Director Defendants.”

 6                  3.     The Underwriter Defendants

 7          29.     The Underwriter Defendants were also instrumental in soliciting investors and in

 8   making the ContextLogic shares that were offered and sold in or traceable to the IPO available to

 9   the members of the Securities Act Class. The table below lists each of the Underwriter Defendants,

10   together with the number of allotted shares that each sold to the Securities Act Class members in

11   the IPO:

12                        Name                                       Number of Shares
      Goldman Sachs & Co. LLC                                          16,169,000
13    J.P. Morgan Securities LLC                                       11,615,000
      BofA Securities, Inc.                                             7,015,000
14
      Citigroup Global Markets Inc.                                     1,932,000
15    Deutsche Bank Securities Inc.                                     1,932,000
      UBS Securities LLC                                                1,932,000
16    RBC Capital Markets, LLC                                          1,840,000
      Credit Suisse Securities (USA) LLC                                1,380,000
17
      Cowen and Company, LLC                                             460,000
18    Oppenheimer & Co. Inc.                                             460,000
      Stifel, Nicolaus & Company, Incorporated                           460,000
19    William Blair & Company, L.L.C.                                    460,000
      Academy Securities, Inc.                                           115,000
20
      Loop Capital Markets LLC                                           115,000
21    R. Seelaus & Co., LLC                                              115,000

22          30.     Defendant Goldman Sachs & Co. LLC (“Goldman Sachs”) was an underwriter of

23   the Company’s IPO, serving as a financial advisor for and assisting in the preparation and

24   dissemination of the Company’s material inaccurate, misleading, and incomplete Offering

25   Materials. Goldman Sachs acted as a representative of all the underwriters. Goldman Sachs also

26   participated in conducting and promoting the roadshow for the IPO and paying for the expenses

27   of the Director Defendants who participated in the roadshow, including lodging and travel, among

28   other expenses. Goldman Sachs’ participation in and its solicitation of offers in connection with


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 1   the IPO was motivated by its financial interests. Defendant Goldman Sachs conducts business in

 2   this District.

 3           31.      Defendant J.P. Morgan Securities LLC (“J.P. Morgan”) was an underwriter of the

 4   Company’s IPO, serving as a financial advisor for and assisting in the preparation and

 5   dissemination of the Company’s material inaccurate, misleading, and incomplete Offering

 6   Materials. J.P. Morgan acted as a representative of all the underwriters. J.P. Morgan also

 7   participated in conducting and promoting the roadshow for the IPO and paying for the expenses

 8   of the Director Defendants who participated in the roadshow, including lodging and travel, among

 9   other expenses. J.P. Morgan’s participation in and its solicitation of offers in connection with the

10   IPO was motivated by its financial interests. Defendant J.P. Morgan conducts business in this

11   District.

12           32.      Defendant BofA Securities, Inc. (“BofA”) was an underwriter of the Company’s

13   IPO, serving as a financial advisor for and assisting in the preparation and dissemination of the

14   Company’s material inaccurate, misleading, and incomplete Offering Materials. BofA acted as a

15   representative of all the underwriters. BofA also participated in conducting and promoting the

16   roadshow for the IPO and paying for the expenses of the Director Defendants who participated in

17   the roadshow, including lodging and travel, among other expenses. BofA’s participation in and

18   its solicitation of offers in connection with the IPO was motivated by its financial interests.

19   Defendant BofA conducts business in this District.

20           33.      Defendant Citigroup Global Markets Inc. (“Citigroup”) was an underwriter of the

21   Company’s IPO, serving as a financial advisor for and assisting in the preparation and

22   dissemination of the Company’s material inaccurate, misleading, and incomplete Offering

23   Materials. Citigroup participated in conducting and promoting the roadshow for the IPO and

24   paying for the expenses of the Director Defendants who participated in the roadshow, including

25   lodging and travel, among other expenses. Citigroup’s participation in and its solicitation of offers

26   in connection with the IPO was motivated by its financial interests. Defendant Citigroup conducts

27   business in this District.

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 1           34.     Defendant Deutsche Bank Securities Inc. (“Deutsche Bank”) was an underwriter of

 2   the Company’s IPO, serving as a financial advisor for and assisting in the preparation and

 3   dissemination of the Company’s material inaccurate, misleading, and incomplete Offering

 4   Materials. Deutsche Bank participated in conducting and promoting the roadshow for the IPO and

 5   paying for the expenses of the Director Defendants who participated in the roadshow, including

 6   lodging and travel, among other expenses. Deutsche Bank’s participation in and its solicitation of

 7   offers in connection with the IPO was motivated by its financial interests. Defendant Deutsche

 8   Bank conducts business in this District.

 9           35.     Defendant UBS Securities LLC (“UBS”) was an underwriter of the Company’s

10   IPO, serving as a financial advisor for and assisting in the preparation and dissemination of the

11   Company’s material inaccurate, misleading, and incomplete Offering Materials. UBS participated

12   in conducting and promoting the roadshow for the IPO and paying for the expenses of the Director

13   Defendants who participated in the roadshow, including lodging and travel, among other expenses.

14   UBS’s participation in and its solicitation of offers in connection with the IPO was motivated by

15   its financial interests. Defendant UBS conducts business in this District.

16           36.     Defendant RBC Capital Markets, LLC (“RBC”) was an underwriter of the

17   Company’s IPO, serving as a financial advisor for and assisting in the preparation and

18   dissemination of the Company’s material inaccurate, misleading, and incomplete Offering

19   Materials. RBC participated in conducting and promoting the roadshow for the IPO and paying

20   for the expenses of the Director Defendants who participated in the roadshow, including lodging

21   and travel, among other expenses.      RBC’s participation in and its solicitation of offers in

22   connection with the IPO was motivated by its financial interests. Defendant RBC conducts

23   business in this District.

24           37.     Defendant Credit Suisse Securities (USA) LLC (“Credit Suisse”) was an

25   underwriter of the Company’s IPO, serving as a financial advisor for and assisting in the

26   preparation and dissemination of the Company’s material inaccurate, misleading, and incomplete

27   Offering Materials. Credit Suisse participated in conducting and promoting the roadshow for the

28   IPO and paying for the expenses of the Director Defendants who participated in the roadshow,


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 1   including lodging and travel, among other expenses. Credit Suisse’s participation in and its

 2   solicitation of offers in connection with the IPO was motivated by its financial interests. Defendant

 3   Credit Suisse conducts business in this District.

 4           38.     Defendant Cowen and Company, LLC (“Cowen”) was an underwriter of the

 5   Company’s IPO, serving as a financial advisor for and assisting in the preparation and

 6   dissemination of the Company’s material inaccurate, misleading, and incomplete Offering

 7   Materials. Cowen participated in conducting and promoting the roadshow for the IPO and paying

 8   for the expenses of the Director Defendants who participated in the roadshow, including lodging

 9   and travel, among other expenses. Cowen’s participation in and its solicitation of offers in

10   connection with the IPO was motivated by its financial interests. Defendant Cowen conducts

11   business in this District.

12           39.     Defendant Oppenheimer & Co., Inc. (“Oppenheimer”) was an underwriter of the

13   Company’s IPO, serving as a financial advisor for and assisting in the preparation and

14   dissemination of the Company’s material inaccurate, misleading, and incomplete Offering

15   Materials. Oppenheimer participated in conducting and promoting the roadshow for the IPO and

16   paying for the expenses of the Director Defendants who participated in the roadshow, including

17   lodging and travel, among other expenses. Oppenheimer’s participation in and its solicitation of

18   offers in connection with the IPO was motivated by its financial interests. Defendant Oppenheimer

19   conducts business in this District.

20           40.     Defendant Stifel, Nicolaus & Company, Incorporated (“Stifel”) was an underwriter

21   of the Company’s IPO, serving as a financial advisor for and assisting in the preparation and

22   dissemination of the Company’s material inaccurate, misleading, and incomplete Offering

23   Materials. Stifel participated in conducting and promoting the roadshow for the IPO and paying

24   for the expenses of the Director Defendants who participated in the roadshow, including lodging

25   and travel, among other expenses. Stifel’s participation in and its solicitation of offers in

26   connection with the IPO was motivated by its financial interests. Defendant Stifel conducts

27   business in this District.

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 1          41.     Defendant William Blair & Company, L.L.C. (“William Blair”) was an underwriter

 2   of the Company’s IPO, serving as a financial advisor for and assisting in the preparation and

 3   dissemination of the Company’s material inaccurate, misleading, and incomplete Offering

 4   Materials. William Blair participated in conducting and promoting the roadshow for the IPO and

 5   paying for the expenses of the Director Defendants who participated in the roadshow, including

 6   lodging and travel, among other expenses. William Blair’s participation in and its solicitation of

 7   offers in connection with the IPO was motivated by its financial interests. Defendant William

 8   Blair conducts business in this District.

 9          42.     Defendant Academy Securities, Inc. (“Academy Securities”) was an underwriter of

10   the Company’s IPO, serving as a financial advisor for and assisting in the preparation and

11   dissemination of the Company’s material inaccurate, misleading, and incomplete Offering

12   Materials. Academy Securities participated in conducting and promoting the roadshow for the

13   IPO and paying for the expenses of the Director Defendants who participated in the roadshow,

14   including lodging and travel, among other expenses. Academy Securities’ participation in and its

15   solicitation of offers in connection with the IPO was motivated by its financial interests. Defendant

16   Academy Securities conducts business in this District.

17          43.     Defendant Loop Capital Markets LLC (“Loop Capital”) was an underwriter of the

18   Company’s IPO, serving as a financial advisor for and assisting in the preparation and

19   dissemination of the Company’s material inaccurate, misleading, and incomplete Offering

20   Materials. Loop Capital participated in conducting and promoting the roadshow for the IPO and

21   paying for the expenses of the Director Defendants who participated in the roadshow, including

22   lodging and travel, among other expenses. Loop Capital’s participation in and its solicitation of

23   offers in connection with the IPO was motivated by its financial interests. Defendant Loop Capital

24   conducts business in this District.

25          44.     Defendant R. Seelaus & Co., LLC (“R. Seelaus”) was an underwriter of the

26   Company’s IPO, serving as a financial advisor for and assisting in the preparation and

27   dissemination of the Company’s material inaccurate, misleading, and incomplete Offering

28   Materials. R. Seelaus participated in conducting and promoting the roadshow for the IPO and


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 1   paying for the expenses of the Director Defendants who participated in the roadshow, including

 2   lodging and travel, among other expenses. R. Seelaus’ participation in and its solicitation of offers

 3   in connection with the IPO was motivated by its financial interests. Defendant R. Seelaus conducts

 4   business in this District.

 5           45.     Defendants listed in ¶¶30-44 are collectively referred to herein as the “Underwriter

 6   Defendants.”

 7           46.     Pursuant to the Securities Act, each Underwriter Defendant is liable for the

 8   materially inaccurate, misleading, and incomplete statements in the Offering Materials.             In

 9   addition, although not an element of Plaintiff’s claims and an issue on which each Underwriter

10   Defendant bears the burden of proof to the extent it seeks to assert it as an affirmative defense, no

11   Underwriter Defendant conducted an adequate due diligence investigation in connection with the

12   matters alleged herein and will accordingly be unable to establish a statutory “due diligence”

13   affirmative defense under the Securities Act. Each Underwriter Defendant committed acts and

14   omissions that were a substantial factor leading to the harm complained of herein.

15           47.     Each Underwriter Defendant named herein is an investment banking firm whose

16   activities include, inter alia, the underwriting of public offerings of securities. As the underwriters

17   of the IPO, the Underwriter Defendants earned lucrative underwriting fees.

18           48.     As underwriters, the Underwriter Defendants met with potential investors in the

19   IPO and presented highly favorable, but materially incorrect and/or materially misleading,

20   information about the Company, its business, products, plans, and financial prospects, and/or

21   omitted to disclose material information required to be disclosed under the federal securities laws

22   and applicable regulations promulgated thereunder.

23           49.     Representatives of the Underwriter Defendants also assisted ContextLogic and the

24   Director Defendants in planning the IPO. They further purported to conduct an adequate and

25   reasonable investigation into the business, operations, products, and plans of the Company, an

26   undertaking known as a “due diligence” investigation. During the course of their “due diligence,”

27   the Underwriter Defendants had continual access to confidential corporate information concerning

28   the Company’s business, financial condition, products, plans, and prospects.


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 1             50.   In addition to having access to internal corporate documents, the Underwriter

 2   Defendants and/or their agents, including their counsel, had access to ContextLogic’s

 3   management, directors, and lawyers to determine: (i) the strategy to best accomplish the IPO; (ii)

 4   the terms of the IPO, including the price at which ContextLogic’s common stock would be sold;

 5   (iii) the language to be used in the Offering Materials; (iv) what disclosures about ContextLogic

 6   would be made in the Offering Materials; and (v) what responses would be made to the SEC in

 7   connection with its review of the Offering Materials. As a result of those constant contacts and

 8   communications between the Underwriter Defendants’ representatives and ContextLogic’s

 9   management, directors, and lawyers, at a minimum, the Underwriter Defendants should have

10   known of ContextLogic’s undisclosed then-existing problems and plans and the Offering

11   Materials’ materially inaccurate, misleading, and incomplete statements and omissions, as detailed

12   herein.

13             51.   The Underwriter Defendants also demanded and obtained an agreement from

14   ContextLogic under which ContextLogic agreed to indemnify and hold the Underwriter

15   Defendants harmless from any liability under the Securities Act.

16             52.   The Underwriter Defendants caused the Registration Statement to be filed with the

17   SEC and declared effective in connection with the IPO, so that they, and the Director Defendants,

18   could offer to sell, and sell, ContextLogic shares to Plaintiff and the members of the Securities Act

19   Class pursuant (or traceable) to the Offering Materials.

20                                   SUBSTANTIVE ALLEGATIONS
21             53.   On August 28, 2020, ContextLogic filed with the SEC a confidential draft
22   registration statement on Form S-1, which would be used for the IPO following a series of
23   amendments in response to SEC comments. On December 7, 2020, ContextLogic filed its final
24   amendment to the Registration Statement, which registered over 52 million ContextLogic shares
25   for public sale. The SEC declared the Registration Statement effective on December 15, 2020.
26   On December 17, 2020, more than five-sixths of the way through ContextLogic’s 4Q 2020,
27   Defendants priced the IPO at $24 per share and filed the final Prospectus for the IPO, which forms
28   part of the Registration Statement.

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 1          54.     According to the Offering Materials, since its founding in 2010, ContextLogic’s

 2   vision has been to unlock ecommerce for all users, by providing consumers access to a vast

 3   selection of affordable products and by providing merchants access to hundreds of millions of

 4   consumers globally. To achieve this end, ContextLogic is fixated on “revolutionizing e-commerce

 5   with a user experience that is mobile-first, discovery-based, deeply personalized and entertaining.”

 6   Through its “Wish” platform, which was purportedly the “most downloaded global shopping app”

 7   over the last three years and “one of the largest and fastest growing global ecommerce platforms,”

 8   ContextLogic connects “more than 100 million monthly active users [“MAUs”] in over 100

 9   countries to over 500,000 merchants offering approximately 150 million items.” Of these 500,000

10   merchants, most are based in China.

11          55.     Unfortunately, the Registration Statement contained untrue statements of material

12   fact and omitted to state material facts, both required by governing regulations and necessary to

13   make the statements made not misleading. In particular, the Registration Statement misrepresents

14   the then-existing truth about: (1) the “differentiated user experience,” ContextLogic repeatedly

15   credits as driving the wide-adoption of the Wish platform by customers who are offered access to

16   high-quality merchants, selling affordable, high-quality products, and merchants who are offered

17   reliable logistical services; (2) the Company’s sales and marketing engine, which ContextLogic

18   said it would “continue to invest in” and that purportedly serves as a competitive advantage in

19   attracting new users and increasing user engagement on the Wish platform; and (3) the Company’s

20   seemingly exponential MAU growth, which it considered “a key indicator of user engagement and

21   awareness of [its] brand.”

22          56.     According to the Registration Statement, ContextLogic employs “a number of

23   policies which, in combination with [its] robust user-generated content, promote higher quality

24   merchants and products on [its] platform.”        For example, by connecting users directly to

25   merchants who directly source their products, ContextLogic “offer[s] [customers] a vast selection

26   of high-quality items at competitive prices.” And, by offering a “number of logistics programs”

27   ContextLogic purportedly provides merchants “a set of reliable cross-border logistics solutions at

28   competitive costs.” Not surprisingly, ContextLogic notes how expanding both these policies are


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 1   central to the Company’s growth strategy. Specifically, ContextLogic commits to “expand product

 2   selection to provide more diversified products at competitive products” and “expand its logistics

 3   platform and optimize its proprietary logistics program . . . to become an integrated part of the

 4   cross-border logistics value chain . . . and provide faster and more reliable delivery to [the

 5   Company’s] buyers.”

 6          57.     ContextLogic’s ability to capture and analyze data also purportedly enhances its

 7   user experience. According to the Offering Materials, the Company “collect[s], analyze[s], and

 8   utilize[s] data across over 100 million monthly active users, over 500,000 merchants, and

 9   approximately 1.8 million items sold per day to improve the shopping experience for users and

10   the selling experience for merchants.” ContextLogic’s data science capabilities also purportedly

11   “enable[] personalization at the individual user level at a massive scale and drive significant

12   advantages across all aspects of [the] business [ ], including user acquisition, user experience,

13   pricing strategies, user-generated content, merchant insights, and user and merchant support.”

14          58.     The Company’s sales and marketing engine, which ContextLogic considers a “core

15   competency that is essential to the success of the Wish platform,” and which ContextLogic

16   leverages to “acquire new users and re-engage existing users on the Wish platform” was also

17   important to enhancing the user experience. Indeed, it is this aspect of ContextLogic’s “user

18   acquisition expertise” that the Company says it “need[s] to continue to invest in…to attract new

19   users and increase user engagement.” Moreover, it is this “data-driven sales and marketing”

20   expertise that has “allowed [the Company] to reduce [its] net losses from $207 million in 2017

21   compared to $129 million in 2019[,]” and, further, positions the Company to “take advantage of

22   economies of scale to further improve [its] operational efficiency.”

23          59.     And, with respect to ContextLogic’s MAU growth over the years, from 21 million

24   in fiscal year 2015, to 30 million in fiscal year 2016, to 49 million in fiscal year 2017, to 73 million

25   in fiscal year 2018, to 90 million in fiscal year 2019, and to 108 million by the end of September

26   2020, the Offering Materials consistently signaled that ContextLogic expected this upward trend

27   to continue. Especially with ContextLogic committing to “expand [its] global footprint and enter

28   new geographies and acquire new users” in “countries in Africa, Latin America, and Eastern


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 1   Europe,” which served as “key growth markets with large and growing populations as a well as a

 2   significant portion of the population with lower average household incomes.”

 3          60.     In truth, however, at the time of the IPO, a material number of ContextLogic

 4   customers had panned their experience with the Wish platform, with many complaining to the

 5   Company about the quality of the products, protracted delivery times that, in some cases, stretched

 6   out longer than two months, or orders that never were received. In fact, as was later revealed by

 7   ContextLogic when it released its 4Q20 financial results, which represented the time during which

 8   the Company went public, “the customer experience [was] so bad the [C]ompany pulled back ads

 9   in India, Brazil, the Philippines and other countries.” Thus, the actual user experience and the

10   Company’s commitment to “target people . . . [that] have a higher propensity to engage with [the]

11   platform and buy,” was far from what the Registration Statement made both out to seem.

12   Moreover, this “decreased advertising” and these “shipping problems,” caused the Company’s

13   4Q20 MAU’s to decline 10% from the same period a year earlier, a far cry from the Registration

14   Statement’s consistent message that MAU growth was (and would remain) on the rise. Because

15   the Registration Statement did not disclose the truth about ContextLogic’s poor user experience,

16   its decision to terminate sales and marketing efforts in critical new markets, and its declining

17   MAUs, as well as the impact each was already having on the Company’s financial health, Plaintiff

18   and other Class Members had no opportunity to adequately assess the value of the shares offered

19   in connection with the IPO.

20          61.     Defendants were required to disclose this material information in the Registration

21   Statement, for at least three independent reasons. First, SEC Regulation S-K, 17 C.F.R. §229.303

22   (“Item 303”), required disclosure of any known events or uncertainties that at the time of the IPO

23   had caused, or were reasonably likely to cause, ContextLogic’s disclosed financial information not

24   to be indicative of future operating results. At the time of the IPO, ContextLogic knew of, or in

25   the exercise of reasonable care should have known, that it was no longer experiencing MAU

26   growth and, further, that its MAUs from earlier periods were not indicative of its 4Q20 MAU,

27   which had declined year-over-year. Likewise, ContextLogic knew of, or in the exercise of

28   reasonable care should have known, that logistical woes and quality-control issues were playing


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 1   havoc on its user’s experience not only globally, but in critical new markets that the Company

 2   identified as being essential to its “growth strategy.” These undisclosed, materially negative events

 3   and trends were likely to (and in fact did) materially and adversely affect ContextLogic’s financial

 4   state, and rendered the disclosed results and trends in the Registration Statement misleading and

 5   not indicative of the Company’s future operating results.

 6          62.     Second, SEC Regulation S-K, 17 C.F.R. §229.105 (“Item 105”), required, in the

 7   “Risk Factor” section of the Registration Statement, a discussion of the most significant factors

 8   that make the offering risky or speculative, and that each risk factor adequately describe the risk.

 9   ContextLogic’s discussion of risk factors did not adequately describe the risk posed by its

10   customers’ dissatisfaction with the quality of products sold on the Wish platform or their overall

11   user experience, its merchants’ inability to deliver products to users in a timely manner or at all,

12   ContextLogic’s declining MAUs, the negative impact these were already having on

13   ContextLogic’s business, nor the other already occurring negative results and trends, nor the likely

14   and consequent materially adverse effects on the Company’s future results, share price, and

15   prospects.

16          63.     Third, Defendants’ failure to disclose ContextLogic’s declining MAUs, the

17   mounting customer dissatisfaction over the quality of products sold on the Wish platform, and the

18   extraordinary length of time merchants required to deliver products, which led to the Company

19   pulling ads in critical new markets, rendered false and misleading the Registration Statement’s

20   many references to known risks that, “if” occurring “might” or “could” affect the Company. As

21   the Company eventually revealed, these “risks” had already materialized at the time of the IPO.

22          64.     Nonetheless, Defendants went forward with the IPO, with the foregoing

23   misrepresentations and omissions in the Registration Statement. Through the IPO, Defendants

24   issued and sold approximately 46 million ContextLogic shares, all pursuant to the Registration

25   Statement, and generated over $1.1 billion in gross proceeds.

26          65.     But when the truth of Defendants’ misrepresentations and omissions began to

27   emerge, the price of ContextLogic’s shares suffered sharp declines. For example, on January 14,

28   2021, the Company’s slowing growth and fulfillment issues were featured in an article published


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 1   on Investorplace.com entitled “With Slowing Growth and Mounting Losses, Give ContextLogic a

 2   Pass.” On this news, ContextLogic’s stock declined nearly 11.7%, falling from $28.13 per share

 3   on January 14, 2021 to close at $24.84 per share on January 15, 2021.

 4          66.     Then, on March 8, 2021, ContextLogic reported its 4Q20 and FY20 financial results

 5   for the period ended December 31, 2020, disclosing that, by the time of its December 2020 IPO,

 6   its MAUs had already “declined 10% YoY during Q4 to 104 million, primarily in some emerging

 7   markets outside of Europe and North America where WISH temporarily de-emphasized

 8   advertising and customer acquisition as the company worked through logistics challenges it faced

 9   earlier in the year.” Undeterred, the Company also reported strong future demand, providing 1Q21

10   sales guidance of $735 to $750 million, representing year-over-year growth of 67% to 70%.

11          67.     The media was quick to analyze the Company’s announcement. For example, in

12   “Wish Revenue Beats Estimates, Worries Linger About Growth,” published on Bloomberg, the

13   author noted how investors were focusing “on the decline in the website’s users,” evidenced by

14   the fact that ContextLogic’s stock retreated after “WISH [disclosed it] had 104 million MAU in

15   the fourth quarter, down 10% from the same period a year earlier.” In addition, the article

16   republished Defendant Bahri’s admission that “delivery times that stretched out longer than two

17   months in some cases made the customer experience so bad the company pulled back ads in India,

18   Brazil, the Philippines and other countries.”

19          68.     On this news, ContextLogic’s stock declined more than 10%, falling from $17.77

20   per share on March 5, 2021 to close at $15.94 per share on March 8, 2021.

21          69.     Then, on May 12, 2021, ContextLogic announced its 1Q21 financial results for the

22   interim period ended March 31, 2021. Again, ContextLogic’s MAUs declined, this time by an

23   additional 7% to just 101 million. Likewise, the Company’s forward sales guidance fell short,

24   with its 2Q21 revenue guidance of just $715 million to $730 million coming in significantly below

25   the guidance of $735 to $750 million provided for 1Q21.

26          70.     On this news, ContextLogic’s stock cratered more than 29%, falling from $11.47

27   per share on May 12, 2021 to close at $8.11 per share on May 13, 2021.

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                                      CLASS ACTION ALLEGATIONS
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11           71.     Plaintiff repeats and realleges each and every allegation contained above as if fully

12   set forth herein.

13           72.     Plaintiff brings this action as a class action, pursuant to Rules 23(a) and 23(b)(3) of

14   the Federal Rules of Civil Procedure, on behalf of a class consisting of all persons and entities that

15   purchased, or otherwise acquired, the common stock of ContextLogic between December 16,

16   2020, the first day ContextLogic common stock traded publicly, and May 12, 2021, both dates

17   inclusive (the “Class Period”), including in, pursuant to, and/or traceable to the IPO (the “Class”).

18           73.     Excluded from the Class are: (i) Defendants; (ii) present or former executive

19   officers of ContextLogic, members of the ContextLogic’s Board, and members of their immediate

20   families (as defined in 17 C.F.R. §229.404, Instructions (1)(a)(iii) and (1)(b)(ii)); (iii) any of the

21   foregoing persons’ legal representatives, heirs, successors, or assigns; and (iv) any entities in

22   which Defendants have or had a controlling interest, or any affiliate of ContextLogic.

23           74.     The members of the Class are so numerous that joinder of all members is

24   impracticable. Throughout the Class Period, the Company’s common stock was actively traded

25   on the NASDAQ, a national securities exchange. While the exact number of Class members is

26   unknown to Plaintiff at this time, and can only be ascertained through appropriate discovery,

27   Plaintiff believes that there are hundreds or thousands of members in the Class. Millions of

28   ContextLogic shares were publicly traded during the Class Period on the NASDAQ. Record


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 1   owners and other members of the Class may be identified from records maintained by

 2   ContextLogic or its transfer agent and may be notified of the pendency of this action by mail, using

 3   a form of notice similar to that customarily used in securities class actions.

 4          75.     Plaintiff’s claims are typical of the claims of Class members, who were all similarly

 5   affected by Defendants’ wrongful conduct in violation of the federal securities laws. Further,

 6   Plaintiff will fairly and adequately protect the interests of Class members and have retained

 7   counsel competent and experienced in class and securities litigation.

 8          76.     Common questions of law and fact exist as to all members of the Class and

 9   predominate over any questions solely affecting individual members of the Class. Among the

10   questions of law and fact common to the members of the Class are:

11                          (a) whether Defendants violated the Exchange Act;

12                          (b) whether Defendants violated the Securities Act;

13                          (c) whether Defendants’ statements to the investing public during the Class

14                              Period omitted and/or misrepresented material facts;

15                          (d) whether Defendants’ statements to the investing public during the Class

16                              Period omitted material facts necessary in order to make the statements

17                              made, in light of the circumstances under which they were made, not

18                              misleading;

19                          (e) whether Defendants knew or recklessly disregarded that their statements

20                              were false and misleading;

21                          (f) whether the price of ContextLogic’s common stock was artificially

22                              inflated; and

23                          (g) the extent of damage sustained by Class members and the appropriate

24                              measure of damages.

25          77.     A class action is superior to all other available methods for the fair and efficient

26   adjudication of this controversy, since joinder of all members is impracticable. Further, as the

27   damages suffered by individual Class members may be relatively small, the expense and burden

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 1   of individual litigation makes it impossible for Class members to individually redress the wrongs

 2   done to them. There will be no difficulty in the management of this action as a class action.

 3                         For Violations of §10(b) of the Exchange Act and
                                Rule 10b-5 Promulgated Thereunder
 4                 (Against Defendant ContextLogic and the Individual Defendants)
 5           78.     Plaintiff repeats and realleges each and every allegation contained above as if fully

 6   set forth herein.

 7           79.     This Count is asserted on behalf of all members of the Class against ContextLogic

 8   and the Individual Defendants for violations of §10(b) of the Exchange Act, 15 U.S.C. §78(b), and

 9   Rule 10b-5 promulgated thereunder, 17 C.F.R. §240.10b-5.

10           80.     These Defendants carried out a plan, scheme, and course of conduct which was

11   intended to, and did: (i) deceive the investing public, including Plaintiff and the other Class

12   members, as alleged herein; and (ii) caused Plaintiff and the other members of the Class to

13   purchase ContextLogic securities at artificially inflated prices. In furtherance of this unlawful

14   scheme, plan, and course of conduct, each of these Defendants took the actions set forth herein.

15           81.     During the Class Period, these Defendants disseminated or approved the false

16   statements specified herein, among others, which they knew, or deliberately disregarded, were

17   materially misleading in that they contained material misrepresentations and failed to disclose

18   material facts necessary in order to make the statements made, in light of the circumstances under

19   which they were made, not misleading.

20           82.     These Defendants: (i) employed devices, schemes, and artifices to defraud;

21   (ii) made untrue statements of material fact and/or omitted to state material facts necessary to make

22   the statements made not misleading; and (iii) engaged in acts, practices, and a course of business

23   that operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

24   maintain artificially high market prices for ContextLogic securities in violation of §10(b) of the

25   Exchange Act and Rule 10b-5 promulgated thereunder.

26           83.     These Defendants, individually and in concert, directly and indirectly, by the use

27   and means of instrumentalities or interstate commerce and/or of the mails, engaged and

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 1   participated in a continuous course of conduct to conceal adverse material information about the

 2   business and future prospects of ContextLogic, as specified herein.

 3          84.     These Defendants employed devices, schemes, and artifices to defraud while in

 4   possession of material, adverse nonpublic information and engaged in acts, practices, and a course

 5   of conduct, as alleged herein, in an effort to assure investors of ContextLogic’s value and

 6   performance and continued substantial growth, which included the making of, or participation in

 7   the making of, false statements of material facts and omitting to state material facts necessary in

 8   order to make the statements made about ContextLogic and its business operations and future

 9   prospects, in the light of the circumstances under which they were made, not misleading, as set

10   forth more particularly herein, and engaged in transactions, practices, and a course of business that

11   operated as a fraud and deceit upon the purchasers of ContextLogic securities.

12          85.     As described above, these Defendants acted with scienter throughout the Class

13   Period in that they either had actual knowledge of the misrepresentations and omissions of material

14   facts set forth herein, or acted with reckless disregard for the truth in that they failed to ascertain

15   and to disclose such facts, even though such facts were available to them. These Defendants’

16   material misrepresentations and/or omissions were done knowingly or recklessly and, for the

17   purpose and effect of concealing the Company’s results and growth prospects, thereby artificially

18   inflating the price of its securities.    As demonstrated by these Defendants’ omissions and

19   misstatements of the Company’s business strategy, these Defendants, if they did not have actual

20   knowledge of the misrepresentations and omissions alleged, were reckless in failing to obtain such

21   knowledge by deliberately refraining from taking those steps necessary to discover whether those

22   statements were false or misleading.

23          86.     As a result of the dissemination of the materially false and misleading information

24   and failure to disclose material facts, as set forth above, the market price of ContextLogic securities

25   was artificially inflated. In ignorance of the fact that market prices of ContextLogic’s securities

26   were artificially inflated, and relying directly or indirectly on the false and misleading statements

27   made by these Defendants, or upon the integrity of the market in which the securities trade, and/or

28   in the absence of material adverse information that was known to, or recklessly disregarded by,


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 1   these Defendants, but not disclosed in public statements by Defendants, Plaintiff and the other

 2   members of the Class acquired ContextLogic securities at artificially high prices and were, or will

 3   be, damaged thereby.

 4           87.     At the time of said misrepresentations and omissions, Plaintiff and the other

 5   members of the Class were ignorant of their falsity and believed them to be true. Had Plaintiff,

 6   the other members of the Class, and the marketplace known the truth regarding the Company’s

 7   business, which was not disclosed by Defendants, Plaintiff and the other members of the Class

 8   would not have purchased, or otherwise acquired, their ContextLogic securities, or if they had

 9   acquired such securities, they would not have done so at the artificially inflated prices that they

10   paid.

11           88.     By virtue of the foregoing, these Defendants have violated §10(b) of the Exchange

12   Act and Rule 10b-5 promulgated thereunder.

13           89.     As a direct and proximate result of these Defendants’ wrongful conduct, Plaintiff

14   and the other members of the Class suffered damages in connection with their respective purchases

15   and sales of the Company’s securities.

16   90.             This action was filed within two years of discovery of the fraud and within five

17   years of Plaintiff’s purchase of securities giving rise to the cause of action.

18                              For Violations of §20(a) of the Exchange Act
                                     (Against the Individual Defendants
19           91.     Plaintiff repeats and realleges each and every allegation contained above as if fully
20   set forth herein.
21           92.     The Individual Defendants acted as controlling persons of ContextLogic within the
22   meaning of §20(a) of the Exchange Act, 15 U.S.C. §78t(a), as alleged herein. By virtue of their
23   high-level positions, agency, ownership, and contractual rights, and participation in and/or
24   awareness of the Company’s operations and/or intimate knowledge of the false financial
25   statements filed by the Company with the SEC and disseminated to the investing public, the
26   Individual Defendants had the power to influence and control, and did influence and control,
27   directly or indirectly, the decision-making of the Company, including the content and
28   dissemination of the various statements that Plaintiff contends are false and misleading. The

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 1   Individual Defendants were provided with, or had unlimited access to, copies of the Company’s

 2   reports, press releases, public filings, and other statements alleged by Plaintiff to have been

 3   misleading prior to, and/or shortly after, these statements were issued and had the ability to prevent

 4   the issuance of the statements or to cause the statements to be corrected.

 5           93.     In particular, each of these Defendants had direct and supervisory involvement in

 6   the day-to-day operations of the Company and, therefore, are presumed to have had the power to

 7   control or influence the particular transactions giving rise to the securities violations, as alleged

 8   herein, and exercised the same.

 9           94.     As set forth above, ContextLogic and the Individual Defendants each violated

10   §10(b) and Rule 10b-5 promulgated thereunder by their acts and omissions, as alleged in this

11   complaint.

12           95.     By virtue of their positions as controlling persons, the Individual Defendants are

13   liable pursuant to §20(a) of the Exchange Act. As a direct and proximate result of these

14   Defendants’ wrongful conduct, Plaintiff and the other members of the Class have suffered damages

15   in connection with their purchases of the Company’s securities.

16           96.     This action is filed within two years of discovery of the fraud and within five years

17   of Plaintiff’s purchase of securities giving rise to the cause of action.

18                            For Violations of §11 of the Securities Act
                    (Against Defendant ContextLogic, the Director Defendants, and
19                                  the Underwriter Defendants)
20           97.     Plaintiff repeats and realleges each and every allegation contained above as if fully

21   set forth herein.

22           98.     This claim is brought pursuant to §11 of the Securities Act, 15 U.S.C. §77k, on

23   behalf of the Class, against the Securities Act Defendants. This is a non-fraud cause of action.

24   Plaintiff does not assert that Defendants committed intentional or reckless misconduct or that

25   Defendants acted with scienter or fraudulent intent.

26           99.     The Offering Materials were inaccurate and misleading, contained untrue

27   statements of material facts, omitted facts necessary to make the statements made therein not

28   misleading, and omitted to state material facts required to be stated therein.


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 1          100.    The Company is the registrant of the securities purchased by Plaintiff and the Class.

 2   As such, the Company is strictly liable for the materially inaccurate statements contained in the

 3   Offering Materials and the failure of the Offering Materials to be complete and accurate. By virtue

 4   of the Offering Materials containing material misrepresentations and omissions of material fact

 5   necessary to make the statements therein not false and misleading, ContextLogic is liable under

 6   §11 of the Securities Act to Plaintiff and the Class.

 7          101.    The Director Defendants each signed the Offering Materials and caused its

 8   issuance. As such, each is strictly liable for the materially inaccurate statements contained in the

 9   Offering Materials and the failure of the Offering Materials to be complete and accurate, unless

10   they are able to carry their burden of establishing an affirmative “due diligence” defense. The

11   Director Defendants each had a duty to make a reasonable and diligent investigation of the

12   truthfulness and accuracy of the statements contained in the Offering Materials and ensure that

13   they were true and accurate, there were no omissions of material facts that would make the

14   Offering Materials misleading, and the documents contained all facts required to be stated therein.

15   In the exercise of reasonable care, the Director Defendants should have known of the material

16   misstatements and omissions contained in the Offering Materials and also should have known of

17   the omissions of material fact necessary to make the statements made therein not misleading.

18   Accordingly, the Director Defendants are liable to Plaintiff and the Class.

19          102.    The Underwriter Defendants each served as underwriters in connection with the

20   IPO. As such, each is strictly liable for the materially inaccurate statements contained in the

21   Offering Materials and the failure of the Offering Materials to be complete and accurate, unless

22   they are able to carry their burden of establishing an affirmative “due diligence” defense. The

23   Underwriter Defendants each had a duty to make a reasonable and diligent investigation of the

24   truthfulness and accuracy of the statements contained in the Offering Materials. They had a duty

25   to ensure that such statements were true and accurate, there were no omissions of material facts

26   that would make the Offering Materials misleading, and the documents contained all facts required

27   to be stated therein. In the exercise of reasonable care, the Underwriter Defendants should have

28   known of the material misstatements and omissions contained in the Offering Materials and also


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 1   should have known of the omissions of material facts necessary to make the statements made

 2   therein not misleading. Accordingly, each of the Underwriter Defendants is liable to Plaintiff and

 3   the Class.

 4           103.    Defendants acted negligently in preparing the Offering Materials. None of the

 5   Defendants named in this Claim made a reasonable investigation or possess reasonable grounds

 6   for the belief that the statements contained in the Offering Materials were true and without

 7   omission of any material facts and were not misleading. In alleging the foregoing, Plaintiff

 8   specifically disclaims any allegation of fraud.

 9           104.    By reasons of the conduct herein alleged, each Defendant named in this claim

10   violated §11 of the Securities Act.

11           105.    None of the untrue statements or omissions of material fact in the Offering

12   Materials alleged herein was a forward-looking statement. Rather, each such statement concerned

13   existing facts. Moreover, the Offering Materials did not properly identify any of the untrue

14   statements as forward-looking statements and did not disclose information that undermined the

15   putative validity of these statements.

16           106.    Plaintiff acquired the Company’s securities pursuant or traceable to the Offering

17   Materials and without knowledge of the untruths and/or omissions alleged herein. Plaintiff

18   sustained damages, and the price of the Company’s shares declined substantially due to material

19   misstatements in the Offering Materials.

20           107.    This Claim is brought within one year after the discovery of the untrue statements

21   and omissions and within three years of the date of the Offering.

22           108.    By virtue of the foregoing, Plaintiff and the other members of the Class are entitled

23   to damages under §11, as measured by the provisions of §11(e), from the Defendants and each of

24   them, jointly and severally.

25                              For Violations of §12(a) of the Securities Act
                         (Against Defendant ContextLogic, the Director Defendants,
26                                   and the Underwriter Defendants)
27           109.    Plaintiff repeats and re-alleges each and every allegation contained above, as if fully

28   set forth herein.


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 1           110.    By means of the defective Prospectus, Defendants promoted, solicited, and sold

 2   ContextLogic shares to Plaintiff and other members of the Class.

 3           111.    The Prospectus for the IPO contained untrue statements of material fact, and

 4   concealed and failed to disclose material facts, as detailed above. Defendants owed Plaintiff, and

 5   the other members of the Class who purchased ContextLogic shares pursuant to the Prospectus,

 6   the duty to make a reasonable and diligent investigation of the statements contained in the

 7   Prospectus, to ensure that such statements were true and that there was no omission to state a

 8   material fact required to be stated, in order to make the statements contained therein not

 9   misleading.    Defendants, in the exercise of reasonable care, should have known of the

10   misstatements and omissions contained in the Prospectus, as set forth above.

11           112.    Plaintiff did not know, nor in the exercise of reasonable diligence could Plaintiff

12   have known, of the untruths and omissions contained in the Prospectus at the time Plaintiff

13   acquired ContextLogic shares.

14           113.    By reason of the conduct alleged herein, Defendants violated §12(a)(2) of the

15   Securities Act. As a direct and proximate result of such violations, Plaintiff and the other members

16   of the Class who purchased ContextLogic securities, pursuant to the Prospectus, sustained

17   substantial damages in connection with their purchases of the shares. Accordingly, Plaintiff and

18   the other members of the Class who hold ContextLogic securities issued pursuant to the Prospectus

19   have the right to rescind and recover the consideration paid for their shares, and hereby tender their

20   ContextLogic shares to Defendants sued herein. Class members who have sold their ContextLogic

21   securities seek damages to the extent permitted by law.

22                              For Violations of §15 of the Securities Act
                                   (Against the Director Defendants)
23
             114.    Plaintiff repeats and realleges each and every allegation contained above as if fully
24
     set forth herein.
25
             115.    This claim is brought pursuant to §15 of the Securities Act, 15 U.S.C. §77o, on
26
     behalf of the Class, against each of the Director Defendants.
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 1          116.    The Director Defendants were controlling persons of the Company within the

 2   meaning of §15 of the Securities Act. By reason of their ownership interest in, senior management

 3   positions at, and/or directorships held at the Company, as alleged above, these Defendants invested

 4   in, individually and collectively, and had the power to influence, and exercised same over, the

 5   Company to cause it to engage in the conduct complained of herein. Similarly, each of the other

 6   Director Defendants not only controlled those subject to liability as primary violators of §11 of the

 7   Securities Act, as alleged above, they directly participated in controlling ContextLogic by having

 8   signed, or authorized the signing of, the Registration Statement and authorizing the issuance of

 9   ContextLogic securities to Plaintiff and members of the Class.

10          117.    As control persons of ContextLogic, each of the Director Defendants are jointly

11   and severally liable pursuant to §15 of the Securities Act with and to the same extent as

12   ContextLogic for its violations of §11 of the Securities Act.

13                                         PRAYER FOR RELIEF
14          WHEREFORE, Plaintiff, on Plaintiff’s own behalf and on behalf of the Exchange Act and
15   Securities Act Classes, prays for relief and judgement as follows:
16          A.      Declaring that this action is a proper class action, pursuant to Fed. R. Civ. P. 23,
17   certifying Plaintiff as a representative of the Exchange Act and Securities Act Classes, and
18   designating Plaintiff’s counsel as Class Counsel for both the Exchange Act and Securities Act
19   Classes;
20          B.      Awarding compensatory damages in favor of Plaintiff and the other members of
21   the Exchange Act Class against all Exchange Act Defendants, jointly and severally, for all
22   damages sustained, as a result of the Exchange Act Defendants’ wrongdoing, in an amount to be
23   proved at trial, including interest thereon;
24          C.      Awarding Plaintiff and the Exchange Act and Securities Act Classes their
25   reasonable costs and expenses incurred in this action, including attorneys’ and expert fees;
26          D.      Awarding rescission or a rescissionary measure of damages; and
27          E.      Such other and further relief as the Court deems appropriate.
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 1                                  DEMAND FOR TRIAL BY JURY

 2          Pursuant to Fed. R. Civ. P. 38(b), Plaintiff hereby demands trial by jury of all issues that

 3   may be so tried.

 4   DATED: May 25, 2021                          SCOTT+SCOTT ATTORNEYS AT LAW LLP

 5                                                  /s/ John T. Jasnoch
                                                  JOHN T. JASNOCH (CA 281605)
 6                                                600 W. Broadway, Suite 3300
                                                  San Diego, CA 92101
 7                                                Tel.: (619) 233-4565
                                                  Fax: (619) 233-0508
 8                                                jjasnoch@scott-scott.com
 9
                                                  THOMAS L. LAUGHLIN, IV
10                                                (pro hac vice forthcoming)
                                                  JONATHAN M. ZIMMERMAN
11                                                (pro hac vice forthcoming)
                                                  SCOTT+SCOTT ATTORNEYS AT LAW LLP
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14                                                Tel.: (212) 233-6444
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15                                                tlaughlin@scott-scott.com
                                                  jzimmerman@scott-scott.com
16
                                                  Counsel for Plaintiff Yen Hoang and the
17                                                Proposed Class
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                      CERTIFICATION PURSUANT TO THE FEDERAL SECURITIES LAWS

                     I, Yen Hoang, hereby certify that the following is true and correct to the best of my

             knowledge, information, and belief:

                     1.       I have reviewed the Complaint and authorize Scott+Scott Attorneys at Law LLP

             to file the Complaint and lead plaintiff papers on my behalf.

                     2.       I am willing to serve as a representative party on behalf of all purchasers of

             ContextLogic Inc. ContextLogic) securities during the Class Period, including providing

             testimony at deposition and trial, if necessary.

                     3.       During the Class Period, I purchased and/or sold the security that is the subject of

             the Complaint, as set forth in the attached Schedule A.

                     4.       I did not engage in the foregoing transactions at the direction of counsel nor in

             order to participate in any private action arising under the federal securities laws.

                     5.       I have not sought to serve as a representative party or lead plaintiff on behalf of a

             class any private actions arising under the federal securities laws and filed during the three-year

             period preceding the date on which this certification is signed.

                     6.       I will not accept any payment for serving as a representative party on behalf of the

             Class beyond the pro rata share of any recovery, except for such reasonable costs and expenses

             (including lost wages) directly relating to the representation of the Class as ordered or approved

             by the Court.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed at ____________________________.
                           Hayward, California         (City, Country)


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             Date                                                   Yen Hoang
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                        Schedule A
CONTEXTLOGIC INC - A                                    Ticker:   WISH        Cusip:     21077C107
Class Period: 12/16/2020 to 05/13/2021

Yen Hoang                                                        DATE         SHARES        PRICE
                                                      Purchases: 03/02/2021        100       $18.59
                                                                 03/16/2021      2,222       $18.33
                                                      Sales:     03/05/2021        100       $17.47
                                                                 04/20/2021      2,222       $11.99
